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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,

                 Plaintiff,

         v.                                                Case No. 98-cr-40002-JPG

  DEWAYNE C. ANTHONY,

                 Defendant.

                                 MEMORANDUM AND ORDER

        This matter comes before the Court on defendant DeWayne C. Anthony’s (“Anthony”)

 motion to amend his presentence investigation report (“PSR”) to change the address listed for

 him therein (Doc. 253). He states that he is no longer in a relationship with the woman living at

 that address and wants to be able to get a fresh start when he is released from prison at a

 different address.

        Anthony has not cited, and the Court cannot find, any authority for making such a change

 to a PSR. The Court therefore DENIES the motion (Doc. 253).

        Current Bureau of Prisons regulations provide that at the time of Anthony’s release,

 which is now anticipated to be in 2013, he will be provided transportation to his legal residence

 or to his place of conviction. 28 C.F.R. § 571.22(c). If Anthony wishes to change his legal

 address to facilitate a fresh start upon his release from incarceration, he make take the matter up

 with the Bureau of Prisons at that time.

 IT IS SO ORDERED.
 DATED: November 17, 2005

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE
